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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

“ Criminal No. 22-cr-299-2 (CKK)

DONALD CHILCOAT,

Defendant.

PRETRIAL SCHEDULING ORDER

March 28, 2024

Discovery & Associated Deadlines
Government to complete any final discovery under present indictment

Aspirational date for grand jury decision re: superseding indictment N/A
Government to complete discovery under any superseding indictment N/A
Discovery motions (Fed. R. Crim. P. 16) April 5, 2024

Expert Notices & Other Crimes Evidence

Government’s expert notice (FRE 701 & 702) April 5, 2024
Defendant’s expert notice (FRE 701 & 702) April 5, 2024
Government’s FRE 404(b) notice April 5, 2024
Defendant’s response to FRE 404(b) notice April 12, 2024
Brady notice April 12, 2024
Experts

Expert reports (FRE 702) April 19, 2024
Lay witness identification and subject matter (FRE 701) May 10, 2024
Non-Evidentiary Pretrial Motions

Defendant’s non-evidentiary pretrial motions,

such as motions challenging the indictment April 11, 2024
Government’s response to Defendant’s non-evidentiary motions, April 25, 2024

Defendant’s reply as to non-evidentiary motions May 2, 2024

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Government’s non-evidentiary pretrial motions

April 4, 2024

April 18, 2024

Defendant’s response to Government’s non-evidentiary motions

Government’s reply as to non-evidentiary motions

Evidentiary Pretrial Motions

Defendant’s evidentiary pretrial motions,

such as motions to suppress evidence, or Daubert
Government’s response to Defendant’s evidentiary motions
Defendant’s reply as to evidentiary motions

Government’s evidentiary pretrial motions,

such as Daubert and other crimes (404(b))
Defendant’s response to Government’s evidentiary motions
Government’s reply as to evidentiary motions

Motions in Limine

Motions in limine by both sides
Responses to motions in limine
Replies as to motions in limine

Joint notice of stipulations

Giglio, Jencks, and Rule 26.2 material
Voir Dire and Jury Instructions
Witness and Exhibit Lists

Government’s witness list, exhibit list and exhibits
Defendant’s witness list, exhibit list and exhibits

April 25, 2024

May 10, 2024

May 24, 2024

May 31, 2024

May 10, 2024

May 24, 2024

May 31, 2024

May 10, 2024

May 24, 2024

May 31, 2024

June 28, 2024

June 28, 2024

June 14, 2024

June 18, 2024

June 18, 2024

Hearings

Status hearings May 9, 2024 at 10:00 am EST
June 7, 2024 at 4:30 pm EST

Pretrial conference June 21, 2024 at 2:00 pm EST

Additional pretrial hearings (to include resolutions of objections to evidence) shall take place as

needed on a series of dates to be discussed with the Court.

Trial is set for July 15, 2024.

SO ORDERED. YY ich
(hla) K ke- Kee

COLLEEN KOLLAR-KOTELLY
United States District Judge
